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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 Commodity Futures Trading Commission,                    Case No.: 2:19-cv-01697-JAD-DJA

 4             Plaintiff                                Order Granting Motions to Unseal Case,
                                                       Continue Hearing, and Extend Temporary
 5 v.                                                            Restraining Order

 6 David Gilbert Saffron a/k/a David Gilbert and                   [ECF Nos. 11, 12, 13]
    Circle Society, Corp.,
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             Defendants
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            Plaintiff Commodity Futures Trading Commission (Commission) explains that it has
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   served defendant Circle Society with process and copies of the other initial filings in this case.
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   The Commission explains that it has also attempted to serve defendant David Gilbert Saffron
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   with process and those documents but has been unable to locate him. However, the Commission
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   is informed and believes that Saffron is aware of this lawsuit. The Commission thus moves to
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   unseal the docket in this case, 1 continue the hearing on the motion for a preliminary injunction to
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   on or about October 29, 2019, 2 and similarly extend the time that the temporary restraining order
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   is set to expire. 3 Based on the Commission’s representations, my prior finding that “[t]he
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   evidence shows that defendants have the means and willingness to continue their operations and
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   divert payments from participants and other assets on the fly[,]” 4 and good cause appearing,
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     1
         ECF No. 11.
22   2
         ECF No. 12.
23   3
         ECF No. 13.
     4
         ECF No. 9 at 15.
          Case 2:19-cv-01697-JAD-DJA Document 15 Filed 10/11/19 Page 2 of 2



 1         IT IS HEREBY ORDERED that the Commission’s motions to unseal this case, continue

 2 the hearing on the injunctive-relief motion, and extend the temporary restraining order [ECF

 3 Nos. 11, 12, 13] are GRANTED.

 4         IT IS FURTHER ORDERED that the hearing on the Commission’s motion for a

 5 preliminary injunction [ECF No. 6] is CONTINUED to 4:00 p.m. on October 29, 2019.

 6         IT IS FURTHER ORDERED that the time for the temporary restraining order [ECF

 7 No. 9] to expire is EXTENDED to October 29, 2019, at 6:00 p.m.

 8         The Commission is directed to add this order to the stack of documents that it must serve

 9 Saffron with as soon as practicably possible and thereafter file proof of that service.

10         The Clerk of Court is directed to unseal this case and all documents in it.

11                                                         ___________________________________
                                                               U.S. District Judge Jennifer A. Dorsey
12                                                                                   October 11, 2019

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